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                             EXHIBIT M
                                  TO
DECLARATION OF STEVEN A. MILLS IN SUPPORT OF DEFENDANTS’
    MOTION TO DISMISS THE THIRD AMENDED COMPLAINT
    coalition on homelessness, sf
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                                                                                 annual report 2016
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       beating the odds                          “One should always play fairly when one has the winning cards.”
                                                                   - Oscar Wilde, Irish Poet, Novelist, Dramatist and Critic (1854-1900)




    S a n F r a n ci s co i s i n crisis . More and
more people are being priced out or evicted                  2016 at a glance
from the places they have called home,
                                                              Won, alongside our community partners, 370 new rental assistance
being forced to leave town or to survive on                   subsidies for homeless families and individuals, and saved 225
unfriendly streets. Columnists, politicians,                  more.
and tech bros have attacked our homeless
                                                              Brought international attention to the city’s inhumane homeless
neighbors with insults and assumptions,
                                                              sweeps and launched a campaign to organize and cultivate leaders
deepening the sense that our city is under                    in our homeless encampments.
siege.
                                                              Led a powerful coalition to garner city funding for a right to
                                                              counsel for tenants facing displacement, which will result in over
       But through it all, the Coalition on
                                                              450 additional low-income households having a fighting chance of
Homelessness has managed to build a                           staying in their homes.
growing successful movement to lift up
the voices and actions of those surviving                     Played a leadership role in both halting SFPD from getting Tasers,
                                                              which have been known to increase deaths in those cities in which
on street corners or in shelters. Bringing
                                                              they have been introduced, and also transforming the SFPD Use
together people experiencing homelessness,                    of Force Department General Order, which greatly limits justified
frontline service providers, and advocates,                   use of force.
we have made enormous strides towards
                                                              Succeeded in getting the city to fund an emergency hotel voucher
ending poverty and homelessness in the city
                                                              program for those families that are turned away from emergency
over the past year. Through theatric actions,                 shelter.
press conferences, developing legislation,
taking legal action, crafting solutions,                      Conducted massive voter education on several ballot measures
                                                              that would have helped solve or make homelessness worse, and
meeting with officials, and facilitating
                                                              managed to shift the policy debate towards a compassionate
gathering at encampments we have fought                       approach.
hard and saved the heart of San Francisco.
                                                              Worked with community allies to halt the building of a new jail.
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   Straight Flush in Emergency Services
  While we are fighting for housing, we are struggling to
  make sure homeless people forced to remain on the streets
  have access to the basic services they need to survive.
  This past year, we worked hard to expand the number of
  navigation centers and transform a current shelter into a
  navigation center model. Part of this work meant pushing
  for access to be equitable, rather than prioritizing those in
  newer programs. We also helped solve the lack of showers
  in one of our family shelters, and expanded bathroom ac-
  cess across the city. To address complaints in the shelters
  we have also begun facilitating restorative justice practice
  sessions in publicly funded shelters. Lastly, we campaigned
  successfully for the city to fund an emergency hotel vouch-
  er program for families turned away from emergency shel-
  ter, which when implemented could help over 250 families.




                                                          SFPD Folds on Tasers and Use of Force
                                                       We have seen again and again that both officer involved
                                                       shootings and in-custody deaths only increase when police
                                                       get Tasers, so we were horrified when SFPD decided yet
                                                       again to push for further militarization of its police force.
                                                       However, using our political muscle and community
                                                       support we were able to stop SFPD from adopting Tasers. As
                                                       part of this process, we took a leadership role in rewriting
                                                       the Department’s Use of Force policy, which had not been
                                                       updated in decades. The new Use of Force document greatly
                                                       limited the justification for use of force across the board,
                                                                     adopting much stricter language.



             At the Heart of the Issue
Launched a series of assemblies that we hosted at homeless
encampments around the city in order to involve homeless
people in the work we do and find ways that our organization
can serve those who are already organizing to end
homelessness within the camps. These Homeless People’s
Popular Assemblies were led solely by homeless or formerly
homeless advocates and attended by homeless people all over
San Francisco. These efforts led to leadership development,
encampment sweep monitoring and a homeless led petition
drive with over 500 homeless signatories calling for dignity
        and human rights of encampment residents.
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                                                             Tenants Dealt the Right to Counsel
                                                        Through our advocacy for housing justice in our city, we were
                                                        able to win $2 million over two years in funding for local
                                                        providers to provide legal counsel to tenants fighting evictions
                                                        locally. We also worked alongside our community partners to
                                                        secure $200K in funding for mediation for tenants in publicly
                                                        funded housing to avoid costly eviction proceedings and to
                                                        help keep formerly homeless tenants in their homes. Lastly,
                                                        as part of this same campaign, we secured over $700,000 for
                                                        community organizations to do outreach to vulnerable tenants
                                                        to ensure they know their tenant rights; half of the time, tenants
                                                        do not respond to evictions, as many of them are not aware
                                                        of their rights. We worked through Homeless Emergency
                                                        Service Providers Association (HESPA) in conjunction with
                                                        dozens of other organizations to attend public hearings, meet
                                                        with Supervisors, and rally our community to achieve these
                                                                                   victories!


           Housing For Homeless Families
                   is in the Cards
You may remember the report we published last year laying out our
“Roadmap: A 5-Year Plan to End the Crisis of Family Homelessness”,
which documented how 1 in 25 public school students are now
experiencing homelessness, and the total number has doubled in
the past five years. This year we partnered with the arts community
to place an initiative on the ballot that would allocate $17 million
annually for the city to implement the recommendations in our
report. We captured the hearts of an overwhelming majority of
voters. If this measure is unsuccessful, we will still fight even harder
  this next year to end homelessness for San Francisco’s families!




                                                                     We Beat Back Q & R Deuce
                                                       Our opponents have worked hard to trump up hatred of poor
                                                       and homeless people, putting measures Q and R. Through our
                                                       extensive campaign work we were able to topple the house of
                                                       cards they built by demonstrating that their arguments were
                                                       lies. Measure Q would confiscate tents without any housing,
                                                       but a measly one-night offer of shelter. Measure R would have
                                                       allocated a segment of the police force to specifically target poor
                                                       and homeless people. Despite massive funding disparities we
                                                       were able to beat back these attacks and defend our homeless
                                                       constituents. Measure R was the first anti-homeless measure
                                                       to be defeated in 15 years, thanks to our organizing work.
                                                       Proponents of Q spent over $700,000 to demonize homeless
                                                       campers and take away their tents, but we still were able to
                                                       galvanize support for our community through advocacy work.
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                                   Coalition on Homelessness, SF
                2 9 YThee aStruggle
                              r s Against
                                    o f Homelessness
                                          Victories
For decades, the Coalition on Homelessness has developed the leadership skills of homeless San Franciscans to forge true solutions to the
housing crisis and beat back mean-spirited attacks against them. This list represents highlights of our collective accomplishments.

 1987-1990
 • A ragtag group of community activists and homeless folks, fed up with the lack of a response to homelessness that addressed
 the root causes, formed the Coalition on Homelessness.
 • The Coalition established the most progressive welfare income disregard programs in the country, whereby cash aid
 recipients could retain funds to move into permanent housing.
 • Founded the Street Sheet, now holding the double distiction of being both the oldest continuously published street
 newspaper in North America, and the paper with the largest circulation.

 1991–1995
 • The Coalition created the first supportive housing for homeless people in San Francisco in the form of Community
 Housing Partnership, which now provides over 1,000 units of permanent affordable supportive housing, and employs
 homeless people in the construction, maintenance, and support services at those housing locations.
 • The Coalition designed and advocated for the McMillan Center, an innovative 24-hour drop-in facility for substance users,
 as an innovative strategy to reduce the number of street deaths.
 • We developed the Uniform Grievance Procedure with other organizations to ensure shelter residents have due process
 rights and are not unfairly evicted from shelters.
 • The Coalition advocated for and designed A Woman’s Place, a drop-in center, shelter, and transitional housing program
 now assisting mentally disabled women, through the convening of the Homeless Women’s Task Force.
 • Fought back another electoral attempt to deduct rent from welfare recipients checks.
 • Succeeded in passing a resolution at the Board of Supervisors to demand an end to the Matrix program, which broadly
 persecuted homeless people who were forced to live on the streets through ticketing, property confiscation and police sweeps.

 1996–2000
 • Thanks to Coalition pressure, the District Attorney dismissed 39,000 tickets issued by the anti-homeless Matrix program.
 • The Coalition’s General Assistance Rights Union became an independent organization: People Organized to Win
 Employment Rights (POWER). This eventually led to single adult welfare recipients earning a living wage and winning free
 Muni for youth in SF.
 • We spearheaded the campaign for substance abuse treatment on demand, which resulted in over $12 million dollars in
 new treatment funds.
 • Low-income mothers organized by the Coalition designed the concept and garnered funding for a community-based 24-
 hour drop-in treatment center for families with children living in the Tenderloin, called Oshun, after the Yoruba Orisha of
 healing.
 • The Coalition wrote and successfully campaigned for adoption of a “No Turn Away” policy for families seeking emergency
 shelter in San Francisco.
 • We organized for and wrote legislation to create a single standard of care, whereby uninsured mentally ill people are
 afforded equal access to mental health treatment as those who are insured, saving 1,700 from losing treatment.
 • Released groundbreaking report entitled Locked Out, which—through hundreds of interviews with mentally ill homeless
 people—found that contrary to popular opinion, homeless mentally ill people were by and large attempting to access mental
 health treatment, but were either denied access or subjected to a cumbersome process they were unable to navigate.

 2001–2005
 • Together with community partner organizations, we formed, and later staffed, the People’s Budget Collaborative, which
 identified alternative City budget savings and revenues and over the years has staved off tens of millions in cuts to poverty
 abatement programs.
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• The Coalition led the work that created the Mission Neighborhood Resource Center (MNRC)—the first resource center
in the Mission District. Everyday, the MNRC provides critical services to over 100 clients, most of them Latino. the Mission
District. Everyday, the MNRC provides critical services to over 100 clients, most of them Latino.
• The Coalition identified hundreds of San Francisco Housing Authority vacant units and successfully pushed the Housing Au-
thority to place 300 homeless families in those units.
• The Street Sheet was inducted into the Northern California Society of Professional Journalists.

2006–2010
• Our work led to the creation of the Shelter Monitoring Committee, which tracks conditions in shelters and resulted in
exposure and correction of countless problems in the shelter system.
• The Coalition passed legislation that ensures vacant publicly owned surplus City property be turned over for the use of
housing for homeless people. This has led to two large affordable housing projects targeting homeless veterans and families.
• Organizing work aided by the Coalition’s Right to A Roof project, led to the creation of the San Francisco Community
Land Trust, a nonprofit that will acquire land and preserve affordable housing in San Francisco.
• Together with organizations in the East Bay, Los Angeles, Portland, and Seattle, we collectively founded the Western
Regional Advocacy Project (WRAP).
• Homeless families organized by the Coalition on Homelessness campaigned for a local rental housing subsidy and
increased eviction prevention funding, protecting hundreds of families from homelessness and enabling hundreds more to
exit homelessness.
• We released Shelter Shock—a report on human rights violations in the shelter system, revealing that 55% of all shelter
clients reported experiencing some form of abuse, and bringing media light and legislative action to these problems.
• The Coalition pushed through legislation to mandate minimum standards in the shelters. For the first time, our shelters
have enforceable minimum standards around health, hygiene, and the human rights of shelter residents.
• Halted the practice by the City of spraying homeless people with high powered hoses in the middle of the night.
• The Coalition handled more than 3,000 civil rights cases per year, connecting homeless folks who have received “quality of
life” citations to pro bono legal representation through the Lawyers’ Committee for Civil Rights.
• The Street Sheet increased circulation to twice a month, allowing for more current news and increased sales for vendors.

2010-Present
• We passed legislation to still the runaround associated with accessing shelter, by lengthening shelter stays and reducing
wait times.
• Settled a lawsuit that led to greatly improved access and conditions for people with disabilities.
• We gutted legislation that would have criminalized the very act of being homeless in two plazas in the Castro.
• We initiated a working group to move away from a system that requires individuals to stand in line for up to 17 hours. This
led to a new very successful call-in system.
• We beat back the implementation of Tasers three times, which are known to increase fatalities at the hands of the police,
and instead worked to get the police to implement a crisis intervention model to address people in psychiatric crisis.
• We won a local stimulus package of $3,000,000 for new jobs in shelters and resource centers.
• Ensured all homeless people in San Francisco would receive preferences for public housing.
• We secured $6,000,000 over three years in new homeless prevention funds, staving off displacement for over 2,500
households.
• After 25 years, reached the mark of over $9,000,000 transferred into the hands of destitute vendors selling Street Sheet!.
We celebrated with a re-design of the Street Sheet, increased the sales price to $2, ran an powerful advertising campaign,
and distributed vendor aprons.
• The Coalition won 663 housing subsidies for homeless families with children, elderly and disabled adults over four years.
• Secured $2.7 million to fix up vacant public housing and turn them over to nearly 200 homeless households, and got both
public housing and section 8 wait lists opened back up
• We halted San Francisco Library policies that would have excluded homeless people and trained Library staff.
• We released The Roadmap: A Five Year Plan to End the Crisis of Family Homelessness in San Francisco: a practical plan
that the Mayor publicly endorsed and garnered $1.5 million match of private funding for new housing subsidies.
• We collaborated with UC Berkeley Center for Human Rights to release Punishing the Poorest: How the Criminalization of
Homelessness Perpetuates Poverty in San Francisco.
• Released in collaboration with SRO Families United ally organization an SRO Families report entitled Living in the
Margins: An analysis and Census of San Francisco Families Living in SROs.
• Worked with ally organizations to bring “Right to Rest” legislation to the California legislature.
• Brought voter initiative to ballot to secure funding to end family homelessness in SF
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                                                                  Fighting the Sidewalk Shuffle
                                                             This February our community members were violently
                                                             pushed from their neighborhoods because Mayor Ed Lee
                                                             said they “have to leave” for the 50th Super Bowl, which
                                                             San Francisco spent $5 million to host. Our public action
                                                             at Super Bowl City as well as our persistent resistance
                                                             to sweeps of homeless encampments catapulted our
                                                             work and our city’s crisis into international discourse,
                                                             building support from allies in San Francisco and
                                                             around the world. As an ongoing part of this work we
                                                             are collaborating with the legal community to take legal
                                                             action to halt the practice of the city and state destroying
                                                                             homeless people’s property.




          Playing Our Cards Right,
              Winning Housing
We won 595 rental assistance subsidies for homeless and
at-risk families, people with disabilities, youth, seniors
and single adults. In the past year our housing activists
have helped move nearly 200 homeless households into
vacant public housing that had been refurbished using
funding we secured through our advocacy work last
year. We worked with the Housing Authority to make
sure homeless families have preference for federally
funded housing, and got them to open up the Section 8
         waiting list, for the first time since 2000.
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STACKING THE DECK IN 2017
Homelessness is NOT a necessary part of our city, but a decision our policy makers have made. Since 1987 we have
insisted that there is an end to poverty and homelessness, and it starts simply with giving people homes. In the coming
year we will continue to push for a San Francisco that everyone can call home, despite the onslaught of vitriol from
the city’s elites and politicos. And we know that we will win because we are moving toward victory, little by little, year
after year.

Housing Justice
• Advocate that $67 million in homeless housing
funds in Props J and S are spent on just that.
• Make a host of homeless policy changes with new
Homeless Department that remove the barriers to
success that homeless people currently face in the
homeless system.
• Improve the emergency shelter system including
the replacement of the emergency shelter for families
to one that has beds instead of mats, is open 24 hours
and has showers, and push for 24-hour access to other
shelters, and expand capacity in the shelter system in
underserved communities.


Human Rights
• Ensure lessons learned from the navigation center
are applied in shelters citywide, including increased
services and relaxing of rules.
• Ensure people living on streets and in encampments
are treated with dignity. This includes a halt to property
confiscations and destruction, and homeless sweeps
and work instead for folks to move into temporary
accommodations leading to permanent housing.
• Continue our leadership development work among
homeless people, including conducting extensive
outreach, holding homeless people’s popular
assemblies, and our annual free school. We will work
hard to ensure the new homeless departments listens
to the voices, and ideas of un-housed people.
• Develop a strong budget campaign with our
community allies to fight for more housing, improved
and equitable emergency services, and homeless
prevention.
• Realize full implementation of Crisis Intervention                      468 Turk st.               www.cohsf.org
                                                                        san francisco, ca            (415) 346-3740
Team, moving police away form using force and
instead de-escalation techniques.
                                                                              coalition on homelessness, sf
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Our 2016 Donors                                                                                   stay involved!
                                                                                                  become a sustainer:
                                                                                                  By giving as little as $20 a month, you can
Foundation supporters                                                                             ensure the Coalition retains an independent voice
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Strauss Foundation, Adobe Foundation, Catholic Campaign for Human Development,                    unrestricted by government funding. Visit www.
Adobe Matching Gift Program, IBM Employee Charitable Contribution Campaign, First                 cohsf.org and click “Donate Now” to place a
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Universalist Funding Program, Sociological Initiatives Foundation, The Benevity                   donation through Network for Good.
Community Impact Fund, Vanguard Charitable, San Francisco Foundation
                                                                                                  spread the word:
Community Partners                                                                                Host a house party or birthday party and invite our
UCSF, Dignity San Francisco, Hamilton Family Center, AIDS Housing Alliance/Q
Foundation, Corporation for Supportive Housing, Swords to Plowshares, National                    staff and/or volunteers to come speak and donate
Philanthropic Trust, World Learning Honorarium, Western Regional Advocacy Project,                the proceeds to the Coalition on Homelessness.
The Gubbio Project, Community Economics, Inc, Curry Senior Center, Drug Policy
Alliance, Homeless Outreach Team, Community Housing Partnership, Northern                         Contact our Development Coordinator at
California Community Loan Fund, Homeless Prenatal Program, Compass Family Services,               development@cohsf.org for more details.
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Panel, Shanti Project, Lutheran Social Services, Dolores Street Community Services,
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Bay Community Law Center, Faithful Fools, Senior Disability Action, Causa Justa: Just             Donate your old car through Vehicles for Charity
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Services, Peter Diggs, The Crucible, Annie Sprinkle, Pizza Vega, Bernal Star, Ripley’s            join the struggle:
Believe it or Not, Oakland Zoo, San Francisco Zoo, Contemporary Jewish Museum, Great
Tortilla Conspiracy, flowers by Judith Ibanez, Beach Blanket Babylon, Pier 39, Urban Putt,        We always need more people to join our campaigns,
Lagunitas Brewing Company, San Francisco Opera, San Francisco Ballet                              conduct outreach, contribute to the Street Sheet,
                                                                                                  or help out in the office. You can also join a
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